               Case 4:20-cv-00194-CDL Document 7-2 Filed 09/23/20 Page 1 of 1


Caplan, Caplan & Caplan Process Servers                           INVOICE                                                      Invoice #CPN-2020025165
12555 Orange Drive                                                                                                                            8/28/2020
Suite 106
Davie, FL 33330
Phone: (305) 374-3426
Fax: (305) 854-4847
XX-XXXXXXX




TRISTAN W. GILLESPIE
THOMAS B. BACON, P.A.
5150 COTTAGE FARM RD
JOHNS CREEK, GA 30022

Reference Number: 3980

Case Number: MIDDLE 4:20-CV-194(CDL)

Plaintiff:
DEBORAH LAUFER

Defendant:
KRISHNA LLC

Received: 8/20/2020 Served: 8/25/2020 1:20 pm CORPORATE
To be served on: KRISHNA LLC C/O JIGNESH PATEL

                                                            ITEMIZED LISTING

Line Item                                                                                                           Quantity         Price     Amount
OUT OF STATE ORIGINAL                                                                                                  1.00         140.00      140.00
TOTAL CHARGED:                                                                                                                                 $140.00


BALANCE DUE:                                                                                                                                   $140.00




                                                 Payments can be made online at:
                                          CaplanandCaplan.com (a $5 service fee will apply)
                                                                                                                                             Page 1 / 1
                                   Copyright © 1992-2020 Database Services, Inc. - Process Server's Toolbox V8.1t
